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 5                                    UNITED STATES DISTRICT COURT
 6                                             DISTRICT OF NEVADA
 7                                                         ***
 8   UNITED STATES OF AMERICA            )
                                         )
 9                                       )
                       Plaintiff,        )                    2:03-cr-00350-LRH-LRL
10               vs.                     )
                                         )
11   LOUIS SIMS CLARK, JR.,              )
                                         )
12                     Defendant.        )                         ORDER
     ____________________________________)
13
             On June 28, 2010 the Federal Public Defender was appointed to represent Louis Sims Clark,
14
     Jr. The Court has now been informed by counsel that they have determined that a conflict exists.
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             Accordingly,    IT IS HEREBY ORDERED that attorney Michael Cristalli, Esq., is appointed
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     as counsel for Louis Sims Clark, Jr. all future proceeding.
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                DATED this 30th day of June, 2010.
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19                                                                 _______________________________
                                                                   United States Magistrate Judge
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